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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE:                                         )   BANKRUPTCY CASE
                                               )
MARIA D. PONCE,                                )   NO.: 16-40877-TAB
                                               )
         Debtor.                               )   CHAPTER 13
                                               )
                                               )   JUDGE: TIMOTHY A. BARNES
                                               )


                                CERTIFICATE OF SERVICE

TO: SEE ATTACHED ADDRESSES

                                       CERTIFICATION

I, the undersigned Attorney, Certify that I served a copy of this Order to the Addresses attached
by electronic notice through ECF or by depositing the same at the U.S. Mail at 1 N. Dearborn
Suite 1200, Chicago, IL 60602 at 5:00 P.M. on March 12, 2021, with proper postage prepaid.

                                                      McCalla Raymer Leibert Pierce,
                                                      LLC
                                                      /s/ Dana O’Brien
                                                      ARDC# 6256415
                                                      1 N. Dearborn Suite 1200
                                                      Chicago, IL 60602
                                                      (312) 346-9088

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                                      SERVICE LIST

To Trustee:                                            by Electronic Notice through ECF
Marilyn O. Marshall
224 South Michigan
Suite 800
Chicago, IL 60604


To Debtor:
Maria D. Ponce                                         Served via U.S. Mail
3624 W 56th St
Chicago, IL 60629


To Attorney:                                           by Electronic Notice through ECF
Joseph S Davidson
Law Offices of Joseph P. Doyle, LLC
105 S. Roselle Rd.
Schaumburg, IL 60193


McCalla Raymer Leibert Pierce, LLC
Attorney For: Creditor
1 N. Dearborn Suite 1200
Chicago, IL 60602
(312) 346-9088
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                                                )   JUDGE: TIMOTHY A. BARNES
                                                )


    NOTICE OF FORBEARANCE AGREEMENT DUE TO THE COVID-19 PANDEMIC

       Now comes PennyMac Loan Services, LLC (“Creditor”), by and through

undersigned counsel, and hereby submits Notice Forbearance Agreement to the Court of the

Debtor's request for mortgage payment forbearance based upon a material financial

hardship caused by the COVID-19 pandemic.

       The Debtor recently contacted Creditor requesting a forbearance period of three (3)

months and has elected to not tender mortgage payments to Creditor that would come due on

the mortgage starting November 1, 2020 through January 1, 2021. 'HEWRU   KDV   UHTXHVWHG

WR H[WHQGWKHLUIRUEHDUDQFHSHULRGWRLQFOXGHWKHPRUWJDJHSD\PHQWV)HEUXDU\

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       Creditor, at this time, does not waive any rights to collect the payments that come

due during the forbearance period. Furthermore, Creditor does not waive its rights under

other applicable nonbankruptcy laws and regulations, including, but not limited to, RESPA,

and the right to collect on any post-petition escrow shortage.

        Debtor will resume mortgage payments beginning February 1, 2021 and will be

required to cure the delinquency created by the forbearance period (“forbearance arrears”).
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       Creditor does not waive its rights to seek relief from the automatic stay for other reasons

other than non-payment of the Mortgage, including, but not limited to, a lapse in insurance

coverage or payment of property taxes.

       In the event it is not the intent of the Debtor to extend the COVID-19 forbearance period,

upon receipt of notification from the Debtor or Debtor’s counsel, the forbearance extension will

be cancelled, and this notice will be withdrawn.

                                                     Respectfully submitted,
                                                     /s/ Dana O’Brien__________________
                                                     Dana N. O’Brien, IL Bar No. 6256415
                                                     Attorney for Creditor
                                                     McCalla Raymer Leibert Pierce, LLC
                                                     1544 Old Alabama Road
                                                      Roswell, GA 30076
                                                      (678) 281-6444
                                                     dana.obrien@mccalla.com
